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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                        *         CRIMINAL NO: 20-55

               v.                               *         SECTION: “F” (4)

JASON R. WILLIAMS                               *
NICOLE E. BURDETT
                                          *     *     *

           REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

       The government’s opposition is most noteworthy for what it does not say.               The

government does not assure the Court that Councilman Williams and Ms. Burdett were indicted

by a grand jury that fairly represented our community, free from racial discrimination. The

government does not deny that the investigation into Mr. Williams was based on a referral by a

political opponent, nor does it address the obvious impact of the indictment on the Orleans Parish

District Attorney’s race. And the government does not explain why an historic pandemic is not

an “extraordinary circumstance” that would permit the Court to exercise its supervisory

jurisdiction and allow discovery in this matter. The government’s failure to address these issues,

combined with the indictment of a declared candidate on the eve of the election qualification

deadline, demands the Court’s intervention.

I.     The government does not credibly explain why it indicted Councilman Williams on
       the eve of the qualification deadline for the Orleans Parish District Attorney’s race.

       Ignoring the elephant in the room—the November 2020 election—the government offers

two reasons for indicting Councilman Williams less than a month before the qualification

deadline. First, the government suggests that the indictment of Mr. Williams and Ms. Burdett

was “normal” because the grand jury returned four other indictments on the same day. Second,

the government points to an alleged prescription problem. Neither of these excuses rings true.


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        A.       The four other June 26 indictments presented public safety and
                 constitutional concerns absent from the present case.

        None of the four other indictments returned on June 26 are remotely similar to Mr.

Williams’ case (nor do any involve a declared candidate for the November 2020 election). First,

the four other indictments were returned against defendants who had already been detained on

federal complaints, thereby raising constitutional issues about pretrial detention during the

COVID-19 lockdown. Second, three of the four cases involved weapons or drug charges,

obviously presenting public safety concerns.1 And in the fourth case, the defendants had been

arrested at the beginning of the pandemic lockdown in March 2020 and detained without

indictment for more than three months.2 These are the types of cases that may warrant an

exception to the Eastern District’s suspension of the grand jury during the COVID pandemic. A

tax case against a declared political candidate does not.

        B.       If the government’s reason for investigating Mr. Williams is to be believed,
                 there should have been no prescription problems.

        In rejecting the defendants’ suggestion that the timing of the indictment interferes with

the November 2020 election, the government contends that “this case is about Jason Williams’

longstanding history of tax fraud” and his “extensive history of failing to pay the IRS.” The

government also suggests that it indicted Mr. Williams on June 26 because of a “prescription

problem.” In other words, the government argues that it charged Mr. Williams at this particular


1
  In United States v. Julius Alexander (Crim. No. 20-57), the government indicted Mr. Alexander, an alleged “gang
leader” with a felony record, for being a convicted felon in possession of a firearm. Before his indictment, Mr.
Alexander had been arrested on a complaint (Mag. No. 20-58) and was ordered detained on June 23, 2020. In
United States v. Jamal Bazley and Dwight Anderson (Crim. No. 20-58), Mr. Bazley and Mr. Alexander, both
previously convicted felons with a history of drug and firearms violations, had been in federal custody since June 11
and June 15 on federal firearms charges, after being caught fleeing a car containing a semi-automatic rifle, two
handguns, and a ski mask. In United States v. Demetrius Fiorentino (Crim. No. 20-56), Mr. Fiorentino had been in
federal custody since June 1, 2020 on a complaint alleging that he possessed more than six kilograms of cocaine.
2
  In United States v. Thierno O. Bah and Manuela Gonzalez-Bookman (Crim. No. 20-59), Mr. Bah and Ms.
Gonzalez-Bookman had been detained on federal bank fraud and aggravated identity theft charges since March 16,
2020.

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time because it had completed a long-term tax investigation and could not let Mr. Williams’

“long history” of tax violations remain unanswered for even one more day. However, this was

not a long-term tax investigation, but a recent development in the government’s years-long

pursuit of Mr. Williams; and the government’s argument must be rejected for several reasons.

       First, the government fails to mention that Mr. Williams’ “long history” with the IRS

involves minor tax problems that have been resolved for almost a decade, and that did not even

result in a civil audit, much less a criminal prosecution.

       Second, although the government has apparently been hunting Mr. Williams for years,

the alleged tax violations are a recent development. The grand jury subpoenas to Mr. Williams

bear a grand jury number of 2017R00460-97, indicating that the government has been using the

grand jury to investigate Mr. Williams since 2017. Coincidentally, in February 2017, Mr.

Williams began receiving threats that the current District Attorney would retaliate against him

for announcing that he would be running for District Attorney in 2020. Interestingly, the

government does not deny that it initiated an investigation into Mr. Williams based on a referral

from a political opponent; and it cannot deny that it issued its first tax subpoena to Mr. Williams

on April 23, 2019, suggesting that the first two years of investigation had been fruitless.

       Third, even if the government is correct that one of the 11 counts against Mr. Williams

and Ms. Burdett may have prescribed on June 27, 2020, there was never a request for a tolling

agreement, although the defendants had been in communication with the government and had

vociferously raised the specter of election interference with the Department of Justice.




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       Fourth, the government concedes that it did not receive DOJ tax approval for the

potentially-prescribed count (Count 7) until June 18, 2020—a week before the indictment. This

eleventh hour approval belies the government’s alleged long-term tax investigation; indeed, a

cynic might conclude that Count 7 was used to justify a June 26 indictment.

       The only reason there is a prescription problem here is that the government has been

investigating a person, and trying to find a crime, since 2017. Surely, if this case started as a tax

investigation in 2017, the government would not have waited to obtain tax division approval

until June 18, 2020—one week before the alleged prescription deadline—and would not be in its

current predicament. Clearly, there was another, obvious reason for the government’s rush to

indict: the July 24 qualification deadline and the November 3 election.

II.    The government does not represent that the grand jury quorum which indicted Mr.
       Williams and Ms. Burdett constituted a representative cross section, free from
       racial discrimination, and the Court has authority to allow discovery on this issue.

       For all the reasons set forth in the defendants’ original memorandum, the COVID-19

pandemic must have negatively impacted the government’s ability to summon a quorum of grand

jurors that reflects a fair cross section of the community and must have negatively impacted the

deliberations of the grand jury that indicted Mr. Williams and Ms. Burdett, just as the pandemic

has negatively impacted nearly every aspect of life in this country. Based on this obvious

premise, the defendants simply seek discovery to determine whether there was racial

discrimination in the process by which a quorum of the grand jury was reached, and whether a

fair cross section of grand jurors participated in their indictment.

       Tellingly, the government does not allay the defendants’ concerns by representing to the

Court that the grand jurors who indicted Mr. Williams and Ms. Burdett did in fact reflect a fair

cross section of this community, or that the process for obtaining a quorum was free from racial



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discrimination. Instead, the government relies on the superficial procedural argument that if the

grand jury were properly empaneled in August 2019, the defendants cannot question a particular

quorum because “[i]f that were the case, then every grand jury session held across the

country could be attacked each and every time they convene.” Rec. Doc. 30 at 6 (emphasis

added).

          But this is not a garden variety case. Here, the government indicted a declared political

candidate on the eve of qualifications for the election, while the grand jury was suspended during

an historic global pandemic. Under the circumstances, the specter of grand jury abuse and

government interference in an election looms large.

          And important constitutional issues are at stake. This case presents separate due process,

equal protection, and fair cross-section concerns, and the government asks the Court to ignore all

of them. See Mosley v. Dretke, 370 F.3d 467 (5th Cir. 2004) (due process and equal protection

challenges to discrimination in the grand jury are distinct challenges); Murphy v. Johnson, 205

F.3d 809 (5th Cir. 2000) (fair cross-section requirement as applied to grand jury selection

procedures).

          A.     Due process requires a charging body free from racial discrimination.

          In Hobby v. United States, 468 U.S. 339 (1984), the Supreme Court recognized a

defendant’s constitutional due process right to be indicted only upon presentment to a charging

body free from racial discrimination.          The particular question in Hobby was whether

discrimination in the selection of a grand jury foreman warranted dismissal of an indictment.

Because the duties of a federal grand jury foreman are merely “ministerial,” the Court held that

discrimination in selecting a foreman from a properly convened grand jury did not require

reversal. Id. at 345. The Court’s determination turned on whether the role of the foreman was



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“so significant to the administration of justice that discrimination in the appointment of that

office impugns the fundamental fairness of the process itself so as to undermine the integrity of

the indictment.” Id.

       Here, it is the “charging body” itself—the quorum of the grand jury that voted on June

26—that may have been infected by racial discrimination. See Vasquez v. Hillery, 474 U.S. 254,

264 (1986). The same day that the quorum voted to return an indictment, the Chief Judge of this

Court issued COVID-19 General Order No. 20-9, finding that the Court had a “reduced ability to

obtain an adequate spectrum of jurors.” See COVID-19 General Order No. 20-9 (June 26, 2020).

The grand jury from which the quorum was selected was also subject to the Governor’s June 4

Proclamation ordering that individuals at higher risk of COVID-19 should stay home—which,

for the reasons set forth in defendants’ opening memorandum, disproportionately affected

African Americans.

       Accordingly, the defendants seek discovery to learn whether there was racial

discrimination in convening the quorum that indicted them. That quorum had the authority “to

act in a manner that determines or influences whether an individual is to be prosecuted,” and its

composition is subject to judicial review. Hobby, 468 U.S. at 345. Indeed, the “taint attributable

to a charging body selected on the basis of race” cannot be cured without quashing an indictment

returned by a tainted charging body. Vasquez, 474 U.S. at 264.

       B.      Equal protection and the constitution’s fair cross section requirement
               demand inclusion of African Americans in the grand jury that returned the
               indictment.

       From an equal protection standpoint, the defendants seek discovery to determine whether

African Americans were excluded from the quorum that was convened. See Rose v. Mitchell,

443 U.S. 545, 565 (1979). African Americans are certainly a recognizable class which, as a



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result of the disproportionate impact of the COVID-19 epidemic upon them, is impacted

differently by the Governor’s stay-home proclamation—as recognized in this Court’s General

COVID-19 Order NO. 20-9. The selection procedure used for summoning a grand jury—

typically having the clerk’s office call grand jurors until a quorum is reached—is not racially

neutral against the backdrop of the pandemic and the truly extraordinary circumstances present

in our district. The government asks the Court to deny any inquiry into what actually happened

here.

         As for the fair-cross section requirement, the concern is also with the “grand jury

selection process.” Murphy v. Johnson, 205 F.3d 809, 818 (5th Cir. 2000). Clearly, under the

extraordinary circumstances present in this case, African Americans are disproportionately

prevented from participating in a grand jury quorum.

         C.     The Court should permit discovery.

         The investigation of Mr. Williams began in 2017, on a matter unrelated to taxes. It also

began around the same time that Mr. Williams received threats from a political rival for

declaring his intention to run for Orleans Parish District Attorney.       Two years later, the

investigation evolved into a tax case—the merits of which are hotly disputed—and resulted in an

indictment on the eve of qualifications for the very same Orleans Parish District Attorney’s race.

If this were not enough reason for concern, the government felt the urgent need to obtain an

indictment while the grand jury was suspended amid an unprecedented global pandemic. In so

doing, the government has placed Mr. Williams in a situation in which he likely will not be able

to clear his name at a trial before the November 3, 2020 election.

         Shockingly, the government contends that this is not an “extraordinary situation” that

would permit this Court to exercise its supervisory power to safeguard the integrity of the grand



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jury process. On the contrary, these extraordinary circumstances clearly raise the potential of

grand jury abuse, and the Court has ample reason to safeguard the integrity of the grand jury

process by permitting the defendants to obtain discovery about the grand jury that returned an

indictment against them. Accordingly, the defendants respectfully request that the Court order

the government and the Clerk of Court to produce the materials requested in their original

memorandum.

III.    The government’s speedy trial argument is circular.

        Finally, the government does not meaningfully address the deprivation of the defendants’

speedy trial rights, which will certainly occur as a result of the government’s decision to indict

during a pandemic. Instead, the government argues that the Speedy Trial Act cannot be violated

so long as jury trials are suspended. But the type of prejudice that the Speedy Trial Act is

intended to prevent—the impact on the defendants’ reputations, the stress of being under

indictment, and for Councilman Williams the effect upon a November election—is still present.

        And as with the grand jury issues, the government conflates two different standards: the

statutory right and the constitutional right. The government cannot decide to indict while jury

trials are suspended, and simply brush off the defendants’ inability to bring this case to trial.

        The Supreme Court has held that a defendant may not complain that the government has

denied him a speedy trial if the government has “prosecuted its case with customary

promptness.” Doggett v. United States, 505 U.S. 647, 652 (1992). Here, as a result of its

decision to indict at this particular time—for the questionable reasons it has given—the

government cannot prosecute with “customary promptness.”              Accordingly, it is within the

Court’s discretion whether the remaining factors of Barker v. Wingo—the length of delay, the

reason for the delay, the defendants’ assertion of their speedy trial right, and prejudice—warrant



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dismissal of the indictment. 407 U.S. 530. Although the speedy trial deadline may not yet have

passed, the government’s actions have all but guaranteed that it will.

                                         CONCLUSION

       For the reasons stated above, the defendants respectfully request that the Court permit

discovery into the government’s reasons for seeking an indictment at this particular time and into

the composition of the grand jury quorum that returned the indictment.

                                              Respectfully submitted,

s/Michael W. Magner                                  /s/ William P. Gibbens
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